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10   The Clorox Company and
     The Burt’s Bees Products Company
11
     Additional counsel listed on signature page
12

13                          IN THE UNITED STATES DISTRICT COURT

14                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

15

16   DANIELA GRUEN, on behalf of herself and all   Case No. 3:22-cv-00935
     others similarly situated,
17                                                 The Honorable Richard Seeborg
                                  Plaintiff,        ORDER
18                                                 JOINT STIPULATION TO
            v.                                     CONTINUE RESPONSIVE
19                                                 PLEADING DEADLINE AND
     THE CLOROX COMPANY and THE BURT’S             INITIAL CASE MANAGEMENT
20   BEES PRODUCTS COMPANY,                        CONFERENCE

21                                Defendant.
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         JOINT STIPULATION TO CONTINUE RESPONSIVE PLEADING DEADLINE AND INITIAL CASE
                                  MANAGEMENT CONFERENCE
                                      Case No. 3:22-cv-00935
                     Case 3:22-cv-00935-RS Document 17 Filed 04/11/22 Page 2 of 4




 1              Pursuant to Civil L.R. 6-1(b) and 6-2, Plaintiff Daniela Gruen (“Plaintiff”) and Defendants

 2   The Clorox Company and The Burt’s Bees Products Company (collectively, “Defendants”),

 3   through their undersigned counsel, hereby stipulate and agree as follows:

 4              1.      Plaintiff Daniela Gruen filed her Complaint on February 15, 2022 (ECF No. 1);

 5              2.      On February 21, 2022, Defendants executed a waiver of service, which triggered a

 6   responsive pleading deadline of April 22, 2022 (ECF Nos. 6, 7);

 7              3.      On February 24, 2022, the Court scheduled an Initial Case Management Conference

 8   for May 19, 2022 at 10:00 a.m. (ECF No. 11);

 9              4.      On March 25, 2022, the Spindel v. Burt’s Bees, Inc. et al. action, Case No. 4:22-cv-

10   01928-HSG, was filed in the Northern District of California. The civil cover sheet filed with the

11   Spindel action identified the instant Gruen lawsuit as a related action, but the Spindel action was

12   assigned to Judge Gilliam.

13              5.      Defendants have filed an administrative motion to consider whether the Gruen and

14   Spindel actions should be related pursuant to Local Rule 3-12, and to reassign the Spindel action

15   to this Court (ECF No. 15);

16              6.      Plaintiffs in the Gruen and Spindel actions are considering whether to voluntarily

17   consolidate the two cases and file a consolidated amended complaint. If plaintiffs do not

18   voluntarily consolidate the two cases, Defendants intend to file a motion to consolidate;

19              7.      In light of the possibility that the Gruen and Spindel actions will be consolidated,

20   and the plaintiffs will file a consolidated amended complaint, the parties agree that Defendants’

21   deadline to respond to the Complaint should be held in abeyance until a consolidated amended

22   complaint is filed, or this Court rules that the actions shall not be consolidated, and that the Initial

23   Case Management Conference should similarly be continued until the consolidation issue is

24   settled;

25              8.      This is the parties’ first request for an extension of time, and the stipulated extension

26   will only impact the date of the Initial Case Management Conference;

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          JOINT STIPULATION TO CONTINUE RESPONSIVE PLEADING DEADLINE AND INITIAL CASE
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 1          THEREFORE, is it hereby stipulated that:

 2          1.      Defendants’ deadline to respond to the Complaint is continued until thirty (30) days

 3   following the Gruen and Spindel plaintiffs’ filing of a consolidated amended complaint, if the

 4   cases are consolidated, or thirty (30) days following this Court’s order that the action shall not be

 5   consolidated; and

 6          2.      The Initial Case Management Conference is continued to a date of the Court’s

 7   choosing following Defendants’ continued responsive pleading deadline.

 8   IT IS SO STIPULATED AND AGREED.

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11   DATED: April 6, 2022                           JENNER & BLOCK LLP1
12
                                              By:              /s/ Kate T. Spelman
13                                                                 Kate T. Spelman

14                                                  Attorneys for Defendants
                                                    The Clorox Company and
15                                                  The Burt’s Bees Products Company
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       Pursuant to Civil Local Rule 5-1(i)(3), I, Kate T. Spelman, hereby attest that concurrence in the
     filing of this document has been obtained from Danielle Perry, counsel for Plaintiff.
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          JOINT STIPULATION TO CONTINUE RESPONSIVE PLEADING DEADLINE AND INITIAL CASE
                                   MANAGEMENT CONFERENCE
                                       Case No. 3:22-cv-00935
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 1   DATED: April 6, 2022                   MASON LLP
                                            SHUB LAW FIRM LLC
 2

 3
                                      By:              /s/ Danielle L. Perry
 4                                                         Danielle L. Perry

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16
                                            Attorneys for Plaintiff
17                                          Daniela Gruen
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21   PURSUANT TO STIPULATION, IT IS SO ORDERED.
22
            April 11, 2022
     Dated: ____________________            By: ___________________________
23                                                 Hon. Richard Seeborg
                                                   United States District Judge
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         JOINT STIPULATION TO CONTINUE RESPONSIVE PLEADING DEADLINE AND INITIAL CASE
                                  MANAGEMENT CONFERENCE
                                      Case No. 3:22-cv-00935
